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     Of Attorneys for Plaintiff
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7
                                   UNITED STATES DISTRICT COURT
8
                                    FOR THE DISTRICT OF OREGON
9

10    CHRISTOPHER ROY HOFFMAN                                                Case No. 2:18-cv-01538-HZ

11              Plaintiff,

12    v.                                                    NOTICE OF APPEARANCE OF
                                                            J. ASHLEE ALBIES FOR PLAINTIFF
13    COLLETTE PETERS ET AL.

14              Defendant.

15   To the Court and All Parties and their Attorneys of Record:

16           PLEASE TAKE NOTICE that J. Ashlee Albies of Albies & Stark LLC hereby appears as

17   counsel for the Plaintiff, Christopher Roy Hoffman. It is requested that an entry be made on the
18   clerk’s docket and that all further notices, documents, pleadings, correspondence, orders, and
19   other materials relevant to this action be directed to and served upon the undersigned attorney
20
     of record.
21
     ///
22
     Dated: January 9, 2019
23
                                             ALBIES & STARK
24
                                             By:       s/ J. Ashlee Albies
25                                                     J. Ashlee Albies, OSB #051846
                                                       Of Attorneys for Plaintiff
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     PAGE - 1          NOTICE OF APPEARANCE


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